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                                                            CLERK OF SUPERIOR COURT
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                                                           SUCV2021000269
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                        STATE OF GEORGIA
                                     Secretary of State
                                   Corporations Division
                                      313 West Tower
                                2 Martin Luther King, Jr. Dr.
                                Atlanta, Georgia 30334-1530


ANNUAL REGISTRATION                                                 *Electronically Filed*
                                                                    Secretary of State
                                                                    Filing Date: 3/3/2020 2:41:40 PM


BUSINESS INFORMATION
CONTROL NUMBER                         K941305
BUSINESS NAME                          HOBBY LOBBY STORES, INC.
BUSINESS TYPE                          Foreign Profit Corporation
EFFECTIVE DATE                         03/03/2020
ANNUAL REGISTRATION PERIOD             2020


PRINCIPAL OFFICE ADDRESS
ADDRESS                    7707 SW 44TH ST, OKLAHOMA CITY, OK, 73179-4808, USA


REGISTERED AGENT
NAME                       ADDRESS                                                          COUNTY
CORPORATION SERVICE        40 TECHNOLOGY PARKWAY SOUTH, SUITE 300,
                                                                                            Gwinnett
COMPANY                    NORCROSS, GA, 30092, USA


OFFICERS INFORMATION
NAME           TITLE          ADDRESS
DAVID GREEN    CEO            7707 SW 44TH STREET, OKLAHOMA CITY, OK, 73179, USA
JON CARGILL    CFO            7707 SW 44TH ST, OKLAHOMA CITY, OK, 73179, USA
MART GREEN     SECRETARY      7707 SW 44TH STREET, OKLAHOMA CITY, OK, 73179, USA


AUTHORIZER INFORMATION
AUTHORIZER SIGNATURE   Peter M. Dobelbower
AUTHORIZER TITLE           Officer
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STATEMENT OF CHANGE OF ADDRESS                                                 *Electronically Filed*
OF REGISTERED OFFICE                                                           Secretary of State
                                                                               Filing Date: 03/30/2021 16:29:57 PM


REGISTERED AGENT INFORMATION
NAME OF REGISTERED AGENT                      Corporation Service Company

ENTITY INFORMATION
Multiple entities are involved with this change of address.

NEW STREET ADDRESS AND COUNTY OF REGISTERED OFFICE
REGISTERED OFFICE ADDRESS                     2 SUN COURT, SUITE 400, PEACHTREE CORNERS, GA, 30092, USA
REGISTERED OFFICE COUNTY                      Gwinnett

STATEMENTS
       The address of the entity's registered office and the business address of the registered agent, as
        changed, will be identical.
       Statement of notification: The undersigned certifies that written notice of the registered agent's
        change of address or a copy of this statement has been delivered or mailed to the above-named
        entity in accordance with the applicable provisions of the Official Code of Georgia Annotated.


AUTHORIZER INFORMATION
AUTHORIZER SIGNATURE                          Corporation Service Company by Janet Budhu, Asst. VP
AUTHORIZER TITLE                              Registered Agent
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                        STATE OF GEORGIA
                               Secretary of State
                                Corporations Division
                                   313 West Tower
                             2 Martin Luther King, Jr. Dr.
                             Atlanta, Georgia 30334-1530

Annual Registration                                                *Electronically Filed*
                                                                   Secretary of State
                                                                   Filing Date: 01/15/2021 11:45:58

BUSINESS INFORMATION
BUSINESS NAME                : STATESBORO CROSSING SHOPPING CENTER LLC
CONTROL NUMBER               : 18087254
BUSINESS TYPE                : Foreign Limited Liability Company
JURISDICTION                 : Delaware
ANNUAL REGISTRATION PERIOD   : 2021

BUSINESS INFORMATION CURRENTLY ON FILE
PRINCIPAL OFFICE ADDRESS     : 5119 Magazine St., New Orleans, LA, 70115, USA
REGISTERED AGENT NAME        : REGISTERED AGENT SOLUTIONS, INC.
REGISTERED OFFICE ADDRESS    : 900 Old Roswll Lakes Prkwy.Suite 310, Roswell, GA, 30076, USA
REGISTERED OFFICE COUNTY     : Fulton

UPDATES TO ABOVE BUSINESS INFORMATION
PRINCIPAL OFFICE ADDRESS     : 5119 Magazine St, New Orleans, LA, 70115, USA
REGISTERED AGENT NAME        : REGISTERED AGENT SOLUTIONS, INC.
REGISTERED OFFICE ADDRESS    : 900 Old Roswll Lakes Prkwy.Suite 310, Roswell, GA, 30076, USA
REGISTERED OFFICE COUNTY     : Fulton

AUTHORIZER INFORMATION
AUTHORIZER SIGNATURE         : James J Morrison
AUTHORIZER TITLE             : Organizer
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                   IN THE SUPERIOR COURT OF BULLOCH COUNTY
                            STATE COURT OF GEORGIA

 TONYA THOMPSON,                                  )
                                                  )
             Plaintiff,                           )
 v.                                               )       CIVIL ACTION
                                                  )       FILE NO. SUCV2021000269
 HOBBY LOBBY STORES, INC. and                     )
 STATESBORO CROSSING SHOPPING                     )
 CENTER, LLC,                                     )
                                                  )
             Defendants.                          )

                    CONSENT MOTION TO DISMISS LESS THAN ALL
                          PARTIES WITHOUT PREJUDICE

       COME NOW, the parties, pursuant to O.C.G.A. §§ 9-11-21; 9-11-41, and jointly move this

Court for an Order dismissing Plaintiff’s claims against Defendant Statesboro Crossing Shopping

Center, LLC (hereinafter, “Statesboro Crossing”) without prejudice. The Parties hereto further show

the Court as follows:

                                                   1.

       The instant case arises out of a October 15, 2019, incident wherein Plaintiff Tonya

Thompson (hereinafter, “Plaintiff”) alleges she was injured after slipping and falling “on a round

metal object, resembling a small dowel” at a Hobby Lobby store located at 225 Henry Boulevard

in Statesboro, Georgia (the “Premises”). Plaintiff alleges, inter alia, Defendant Statesboro

Crossing negligently: (1) inspected the Premises for hazards; (2) failed to warned patrons of the

purported hazard then existing at the Premises at the time of Plaintiff’s alleged fall; and (3) failed

to clean up said hazard. (See Pl.’s Compl., generally).

                                                  2.

        Plaintiff agrees to dismiss Defendant Statesboro Crossing from this case WITHOUT

PREJUDICE.
     Case 6:21-cv-00079-JRH-BKE Document 1-1 Filed 10/22/21 Page 23 of 27




                                                 3.

         O.C.G.A. § 9-11-21 provides that “[p]arties may be dropped or added by order of the court

on motion of any party or of its own initiative at any stage of the action and on such terms as are

just.”

                                                 4.

         Because less than all Defendants are being dismissed from this action, the dismissal of

Defendant Statesboro Crossing from the instant action requires this Court’s approval.

                                                 5.

         The dismissal of Defendant Statesboro Crossing from this action will not impact Plaintiff’s

claims asserted against Defendant Hobby Lobby Stores, Inc.

         WHEREFORE, the parties hereby respectfully move this Court to grant this Consent

Motion for Dismissal of Less than All Parties Without Prejudice and enter the proposed Order

Granting Dismissal of Less than All Parties Without Prejudice submitted herewith.

         This 22nd day of October, 2021.

CONSENTED TO AND AGREED UPON BY:

 /s/ Whitney L. Green                                 /s/ Edgar M. Smith (signed with express
 Whitney Lay Greene                                   permission by Whitney L. Green, Esq.)
 Georgia Bar No. 955783                               Edgar M. Smith
 DREW ECKL & FARNHAM, LLP                             Georgia Bar No. 683836
 (404) 885-1400                                       MORGAN & MORGAN
 greenew@deflaw.com                                   (912) 244-5401
 Attorneys for Defendant Hobby Lobby Stores,          edgarsmith@forthepeople.com
 Inc.                                                 Attorneys for Plaintiff

/s/ Zanita King-Hughes(signed with express
permission by Whitney L. Green, Esq.)
Zanita King-Hughes
Georgia Bar No. 183240
LAW OFFICES OF T. TAMARA GAULDIN
(770) 730-3433
Zanita.King-Hughes@thehartford.com
Attorneys for Defendant Statesboro Crossing Shopping Center, LLC



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                    IN THE SUPERIOR COURT OF BULLOCH COUNTY
                             STATE COURT OF GEORGIA|

 TONYA THOMPSON,                                  )
                                                  )
              Plaintiff,                          )
 v.                                               )     CIVIL ACTION
                                                  )     FILE NO. SUCV2021000269
 HOBBY LOBBY STORES INC. and                      )
 STATESBORO CROSSING SHOPPING                     )
 CENTER LLC,                                      )

              Defendants.

                                CERTIFICATE OF SERVICE

         This is to certify I have served a copy of the CONSENT MOTION TO DISMISS LESS

THAN ALL PARTIES WITHOUT PREJUDICE upon all counsel of record through the Court’s

electronic filing system addressed as follows:

                Zanita King-Hughes                               Edgar M. Smith
         Law Offices of T. Tamara Gauldin                      Morgan & Morgan
      1050 Crown Pointe Parkway, Suite 550-A                 25 Bull Street, Suite 400
                Atlanta, GA 30338                             Savannah, GA 31401
       Zanita.King-Hughes@thehartford.com                 edgarsmith@forthepeople.com

  Attorneys for Statesboro Crossing Shopping                  Attorneys for Plaintiff
                  Center, LLC



         This 22nd day of October, 2021.
                                                  DREW ECKL & FARNHAM, LLP

                                                  /s/Whitney Lay Greene
                                                  Whitney Lay Greene
                                                  Georgia Bar No. 955783
                                                  Attorneys for Defendant
303 Peachtree Street, NE
Suite 3500
Atlanta, Georgia 30308
(404) 885-1400
greenew@deflaw.com




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                   IN THE SUPERIOR COURT OF BULLOCH COUNTY
                            STATE COURT OF GEORGIA|

 TONYA THOMPSON,                                 )
                                                 )
             Plaintiff,                          )
 v.                                              )       CIVIL ACTION
                                                 )       FILE NO. SUCV2021000269
 HOBBY LOBBY STORES, INC. and                    )
 STATESBORO CROSSING SHOPPING                    )
 CENTER, LLC,                                    )
                                                 )
             Defendants.                         )


ORDER GRANTING DISMISSAL OF LESS THAN ALL PARTIES WITHOUT PREJUDICE

       It appearing to the Court that the parties, having jointly moved to dismiss

Defendant Statesboro Crossing Shopping Center, LLC (hereinafter, “Statesboro Crossing”)

without prejudice and upon certain specified terms and conditions as set forth in the parties’

Consent Motion to Dismiss Less Than All Parties Without Prejudice (the “Consent Motion”),

which is on file in this action; and, the Court having duly considered said Consent Motion;

        IT IS HEREBY CONSIDERED, ORDERED, AND ADJUDGED that said

Consent Motion to dismiss Defendant Statesboro Crossing from this action without prejudice is

hereby granted and sustained, and Defendant Statesboro Crossing is hereby dismissed from

this action without prejudice subject to the terms and conditions set forth in the written

Consent Motion, which is incorporated herein by reference. The instant action and Plaintiff’s

claims remain pending against Defendant Hobby Lobby Stores, Inc. The caption of this case

shall be modified accordingly (i.e., Tonya Thompson v. Hobby Lobby Stores, Inc).

       SO ORDERED this ___ day of ____________________________, 2021.

                                             _________________________________
                                             Honorable Judge Michael Muldrew
                                             Bulloch County Superior Cour
             Case 6:21-cv-00079-JRH-BKE Document 1-1 Filed 10/22/21 Page 26 of 27


Jack Summer

From:                              Sandy Ratio
Sent:                              Friday, October 22, 2021 2:15 PM
To:                                Jack Summer
Subject:                           PeachCourt Activity Case # SUCV2021000269




From: PeachCourt Notifications <notifications@peachcourt.com>
Sent: Friday, October 22, 2021 2:00 PM
To: Whitney Lay Greene <GreeneW@deflaw.com>; Andrea Geddes <GeddesA@deflaw.com>; Sandy Ratio
<RatioS@deflaw.com>
Subject: PeachCourt Activity Case # SUCV2021000269


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Court. You will receive a separate confirmation message if this filing is accepted by the clerk. We invite you to reply to
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Submission Date: 10/22/2021 at 2:00 PM
Peach #: E-YEZZB2YA
Case #: SUCV2021000269
Case Name: THOMPSON v HOBBY LOBBY STORES, INC., et al

Documents

Motion: Consent Mot. to Dismiss Less Than All Parties Without Prejudice
Consent Motion to Dismiss Less Than All Parties without Prejuice.pdf

Proposed Order: Proposed Order on Consent Mot. to Dismiss Less Than All Parties Without Prejudice
Order on Consent Motion to Dismiss Less Than All Parties without Prejuice.pdf

Filer: Whitney Lay Greene Payment amount: $31.35

eFiling Fee: $30.00
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